Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 1 of 33 PageID #: 6698




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  I.F.,                                            §
      Plaintiff,                                   §
                                                   §
                   v.                              §Civil Action No. 4:14-CV-00359 (RC/KPJ)
                                                   §
                                                   §
  LEWISVILLE INDEPENDENT SCHOOL                    §
  DISTRICT,                                        §
     Defendant.                                    §

                                JOINT FINAL PRE-TRIAL ORDER

         This cause came before the court at a pre-trial management conference held on

  February 14, 2017, pursuant to Local Rule CV-16 and Rule 16 of the Federal Rules of Civil

  Procedure.

  A.     COUNSEL FOR THE PARTIES

         Plaintiff:     Charla Aldous
                        Heather Long
                        Christopher Payne

         Defendant:     Thomas P. Brandt
                        Stephen D. Henninger

  B.     STATEMENT OF JURISDICTION

         This is a suit alleging a violation of Plaintiff’s rights under Title IX to the Education

  Amendments of 1972, 20 U.S.C. 1681, et seq. This Court has jurisdiction over this matter

  pursuant to 28 U.S.C. §§1331 and 1343. Jurisdiction is not in dispute.

  C.     NATURE OF THE ACTION

         Plaintiff’s Version:

         I.F.’s lawsuit seeks to hold Lewisville Independent School District responsible for the

  district’s deliberate indifference and retaliation after receiving reports that I.F. was sexual


                                                                                           page 1
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 2 of 33 PageID #: 6699




  assaulted and sexual harassed by peers in violation Title IX of the Education Amendments of

  1972, 20 U.S.C. § 1681 et seq. I.F. seeks monetary damages recoverable under the applicable

  law.

         Defendant’s Version:

         Plaintiff, a former student at the Lewisville Independent School District (“LISD”), has

  sued the District under Title IX. Plaintiff claims that LISD discriminated against her on the basis

  of her gender by failing to properly respond to and address: (1) her claim that fellow LISD

  students sexually assaulted her at an off-campus, non-school related function; and (2) her claim

  that she was being harassed and bullied by fellow LISD students about the alleged assault.

  D.     CONTENTIONS OF THE PARTIES

         The Management Conference referenced in the Joint Pretrial Order form for the Eastern

  District has not yet taken place. The parties submit the following contentions at this time:

         Plaintiff’s Contentions:

         School districts like Lewisville Independent School District that accept Federal funding

  make a promise to obey Title IX’s mandate:

         No person in the United States shall, on the basis of sex, be excluded from
         participation in, be denied the benefit of, or be subjected to discrimination under
         any education program or activity receiving Federal financial assistance . . . .

  20 U.S.C. § 1681(a). LISD broke that promise, sexually discriminated I.F., and deprived her of

  access to educational programs and activities. When I.F. notified LISD that two of her

  classmates simultaneously sexually assaulted her and that she was being subjected to sexual

  harassment from other classmates that knew about the event, LISD responded with retaliation

  and deliberate indifference.




                                                                                                 page 2
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 3 of 33 PageID #: 6700




           Title IX’s implied private right of action encompasses claims of retaliation, and the

  elements of the claim are participation in a protected activity, adverse action by the funding

  recipient, and a causal connection between the protected activity and the adverse action. At trial,

  I.F. will ask the jury to hold LISD responsible for its retaliation against her because: (1) Title IX

  protected I.F.’s sexual assault and sexual harassment reports as well as her multiple requests for

  response to those reports; (2) LISD took adverse actions against I.F. like discouraging her from

  pursuing district action against the students responsible, encouraging her to leave the educational

  environment, and refusing to investigate her allegations for over eighty days;1 and (3) the

  adverse actions LISD took were directly related to I.F.’s reports.

           Title IX’s implied right of action also allows claims for deliberate indifference to student-

  on-student sexual harassment if the recipient has actual knowledge, acts with deliberate

  indifference, and the harassment is so severe that it effectively bars the victim’s access to an

  educational opportunity or benefit. At trial, I.F. will ask the jury to hold LISD responsible for its

  deliberate indifference to the peer-on-peer sexual harassment she endured because: (1) LISD

  received actual notice of the sexual assault and sexual harassment in October 2012, and was

  apprised of subsequent sexual harassment multiple times throughout the 2012-2013 school year;

  (2) LISD’s response and lack of response after receiving that knowledge was deliberately

  indifferent, including being clearly unreasonably in light of the known circumstances; and (3) the

  harassment I.F. reported--- including the assault, the presence of her two rapists at school, and

  verbal harassment--- was so severe it created a hostile learning environment.

           The defenses Defendant identifies as “affirmative defenses” are not recognized under the

  law and/or available to Defendant under the facts and circumstances of this case.


  1
   LISD engaged in multiple retaliatory acts against I.F. because of her protected actions. The specific references
  above are offered as examples of those acts and not intended to represent an exclusive list.

                                                                                                               page 3
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 4 of 33 PageID #: 6701




         Defendant’s Contentions:

         LISD contends that I.F. has not pled any claim for Title IX retaliation that is distinct from

  her claim of Title IX discrimination. In any event, LISD denies any retaliation against I.F. LISD

  denies that it violated I.F.’s rights under Title IX, in any respect. LISD contends that the initial

  bullying complaint which was made on I.F.’s behalf in October of 2012, did not sufficiently

  allege any gender-based harassment and, therefore, did not implicate Title IX protections.

         Thereafter, when I.F. reported an allegation of sexual assault which allegedly occurred at

  an off-campus, non-school sponsored party at which no LISD personnel or adults were present,

  and further claimed harassment by LISD students related to that alleged sexual assault, LISD

  responded properly and in compliance with its obligations under Title IX. LISD was, in no way,

  deliberately indifferent to I.F.s Title IX complaints. To the contrary, LISD took specific, direct

  action to try to determine what had happened and to prevent any harassment of I.F.

         First, LISD worked with I.F.’s family to have I.F. quickly enrolled in the School

  District’s Homebound program so that she could continue her education without being subjected

  to an allegedly hostile environment while LISD attempted to discover what was happening.

  Moreover, LISD, after complying with the request of the Carrollton Police Department to delay

  its investigation while the Police conducted their criminal investigation into I.F.’s sexual assault

  allegation, thoroughly investigated the events of the party to see if the allegation of sexual assault

  could be proven and the alleged assailants subjected to discipline. Ultimately, due to conflicting

  statements and evidence about the events of the party and the alleged assault, LISD could not

  determine whether a sexual assault occurred.

         LISD further directly responded to allegations of cyber-bullying made by I.F. by

  interviewing all involved students, counseling against further harassing behavior, and contacting



                                                                                                 page 4
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 5 of 33 PageID #: 6702




  parents of involved students. Thereafter, the harassment from those involved did not continue, to

  LISD’s knowledge. An additional incident of alleged bullying involving Instagram accounts was

  referred to the police, and resulted in the filing of criminal charges, and an LISD student being

  assigned to a Disciplinary Alternative Education Program as punishment for the student’s

  involvement.

         LISD denies that I.F. was deprived of access to the educational opportunities offered by

  LISD sufficient to invoke the protections of Title IX. LISD further denies that any alleged

  violation of Title IX administrative rules, directives, letters, or other communications from

  administrative agencies, or any alleged violation of LISD’s own policies, is sufficient to establish

  deliberate indifference.

         LISD contends that the incidents in question and alleged damages were caused in whole

  or in part by the acts and/or omissions of independent third-parties over whom LISD exercised

  no control and for whose acts and/or omissions LISD cannot be held responsible. LISD further

  contends that the incidents made the basis of this suit and any alleged damages therefrom were

  caused in whole or in part by the intervening criminal and intentional acts of independent third-

  parties over whom Defendant exercised no control and for whose acts and/or omissions

  Defendant cannot be held responsible.

         LISD asserts the defense of governmental immunity.

         LISD further asserts the defense of estoppel.

         LISD further asserts numerous affirmative defenses with respect to I.F.’s allegations

  regarding alleged delays in investigating her complaints including estoppel, waiver,

  impossibility, interference by I.F. and/or her parents, and interference by local law enforcement

  who, under the authority of state law, required LISD to refrain from continuing the District’s



                                                                                               page 5
     Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 6 of 33 PageID #: 6703




       investigation during the pendency of law enforcement’s criminal investigation of I.F.’s

       complaints. LISD’s investigation was also delayed by the request of I.F.’s mother, and by the

       actions of I.F.

               LISD asserts that I.F. failed to exhaust her available administrative remedies.

               LISD contends that I.F. failed to mitigate damages by using and/or exhausting available

       administrative remedies, including, but not limited to, available grievance procedures and

       available procedures under applicable statutes.

           LISD contends that it cannot be liable for punitive/exemplary damages.

E.     STIPULATIONS AND UNCONTESTED FACTS

               1)        Lewisville Independent School District received federal funding assistance for
                         purposes of Title IX of the Educational Amendments of 1972 at all relevant
                         times.

               2)        Hebron High School 9th Grade Center (“HHS9”) and Hebron High School are
                         schools within LISD.

               3)        According to the 2012-2013, LISD school calendar, the first day of school was
                         August 27, 2012, and the last day was June 6, 2013.

               4)        I.F. began the 2012-2013, school year as a ninth grade student attending classes at
                         the HHS9 center.

               5)        I.F. was fourteen years of age in September, 2012.

               6)        I.F. was a member of the Hebron Freshman Cheerleading team for part of 2012.

               7)        A.V. began the 2012-2013, school year as a ninth grade student attending classes
                         at the HHS9 center.

               8)        A.V. was fifteen years of age in September, 2012.

               9)        A.V. remained enrolled in classes at the HHS9 center until he completed ninth
                         grade in June, 2013.

               10)       A.V. was a member of the Hebron Freshman Football team in 2012-2013.




                                                                                                     page 6
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 7 of 33 PageID #: 6704




        11)    I.G. began the 2012-2013, school year as a ninth grade student attending classes at
               the HHS9 center.

        12)    I.G. was fifteen years of age in September, 2012.

        13)    I.G. remained enrolled inclasses at the HHS9 center until he completed ninth
               grade in June, 2013.

        14)    I.G. was a member of the Hebron Freshman Football team in 2012-2013.

        15)    I.F. formally withdrew from LISD in August, 2013, and never re-enrolled.

  F.    CONTESTED ISSUES OF FACT AND LAW

        Plaintiff’s Contentions:

        I.F. hereby submits her list of contested issues of fact and law. In an effort to streamline
        the list, the contested issues of fact specifically listed here subsume other contested issues
        of fact and law not specifically listed.

        1.     Whether I.F was sexually assaulted by two Hebron 9th Grade Center Football
               Players, A.V. and I.G., on or about September 28, 2012.

               a.      Whether I.F. did not consent to or explicitly refused any sexual contact
                       from A.V. or I.G.

               b.      Whether I.F. lacked the capacity to consent to sexual contact from A.V. or
                       I.G. due to her age.

               c.      Whether I.F. lacked the capacity to consent to sexual contract due to
                       impairment.

               d.      Whether A.V. admitted having oral and vaginal sex with I.F.

               e.      Whether I.G. admitted having oral sex with I.F.

               f.      Whether A.V. admitted to engaging in sexual contact with I.F. without her
                       consent.

               g.      Whether I.G. admitted to engaging in sexual contact with I.F. without her
                       consent.

               h.      Whether A.V. and I.G. were aware of I.F.’s impairment prior to engaging
                       in sexual contact with I.F.

               i.      Whether A.V. has admitted to drugging I.F. prior to engaging in sexual
                       contact with her.


                                                                                               page 7
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 8 of 33 PageID #: 6705




              j.      Whether the alleged assailants pleading of Fifth Amendment rights to
                      questions regarding the assault create a presumption that an assault
                      occurred.

        2.    Whether LISD demonstrated deliberate indifference to the sexual harassment and
              sexual assault of I.F. in violation of Title IX.

              a.      Whether LISD had actual knowledge of complaints involving I.F. that
                      triggered Title IX obligations.

                    i.       Whether LISD and its officials had actual knowledge of the sexual
                             assault and the resulting bullying, slurs and obscenities being made
                             about I.F.

                   ii.       Whether LISD knew about the hostile educational environment
                             created for I.F. after the sexual assault.

              b.      Whether LISD’s acted with deliberate indifference in response to I.F.’s
                      Title IX complaints.

                    i.       That the appropriate legal standard for “deliberate indifference” for
                             purposes of finding school district liability under Title IX for
                             student-on-student harassment as when the “response to the
                             harassment or lack thereof is clearly unreasonable in light of the
                             known circumstances” pursuant to Doe ex rel. Doe v. Dallas
                             Independent School Dist., 220 F.3d 380, 384 (5th Cir. 2000).

                             1.     The appropriate legal standard is not that a school district
                                    can escape liability as long as it proves took “some action”
                                    regardless of the reasonableness or efficacy of it as alleged
                                    in LISD’s Motion for Summary Judgment (Dkt. 240).

                   ii.       Whether LISD’s response to I.F.’s Title IX complaints was clearly
                             unreasonable in the light of the known circumstances.

              c.     Whether the sex-based harassment or assault acts was so severe,
              pervasive, and objectively offensive that it deprived I.F. of access to educational
              opportunities or benefits provided by LISD.

              d.      Whether LISD created and/or subjected Plaintiff to a hostile educational
                      environment in violation of Title IX because:

                    i.       Plaintiff was a member of a protected class;

                   ii.       Plaintiff was subjected to sexual harassment in the form of a sexual
                      assault by another student, bullying, intimidation, verbal slurs, and
                      obscenities, creating a hostile environment against her while on    LISD
                      property;

                                                                                           page 8
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 9 of 33 PageID #: 6706




                   iii.         Plaintiff was subjected to harassment based on her sex; and



                   iv.          Plaintiff was subjected to a hostile educational environment
                         created by:

                                1.     LISD’s lack of policies and procedures,

                                2.     LISD’s failure to follow federal and state laws,

                                3.     LISD’s failure to train its employees to be knowledgeable
                                       and to follow policies and procedures and legal
                                requirements under Title IX,

                                4.       LISD’s custom and practice of failing to properly
                                investigate and/or discipline male students accused of sexual
                                assault,

                                5.     LISD’s pattern and practice of behavior designed to
                                       discourage and dissuade students and parents of other
                                       students who had been sexually assaulted from seeking
                                       prosecution and protection and from seeking full
                                       investigation of sexual assaults, or

                                6.     LISD’s failure to properly investigate and/or address the
                                       sexual assault, bullying, hostile environment and
                                subsequent   harassment.

              e.      Whether Plaintiff has suffered and should recover reasonable damages,
                      including for her emotional distress, psychological damage, and because
              her character and standing in her community have suffered from the harassment
              fostered as a direct and proximate result of LISD’s deliberate indifference to her
              rights under Title IX.

        3.    Whether LISD retaliated against I.F. for taking protected action under Title IX.

              a.     Whether Plaintiff took protected action under Title IX by making
                     complaints regarding sexual assault, harassment, or bullying while a
              student at LISD.

              b.         Whether LISD took adverse action against I.F. while a student at LISD.

              c.         Whether there is a causal connection between the adverse action taken
                         against I.F. and I.F. protected activity under Title IX.

              d.         Whether Plaintiff has suffered and should recover reasonable damages,
                         including for her emotional distress, psychological damage, and because

                                                                                              page 9
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 10 of 33 PageID #: 6707




              her    character and standing in her community have suffered from LISD’s
                     retaliation in violation of Title IX.

        4.    Whether Plaintiff is entitled to recover attorneys’ fees.

        5.    Whether Plaintiff is entitled to recover expert witness fees.

        6.    Whether Plaintiff is entitled to interest and costs.

        Defendant’s Contentions:

        1.    Whether Plaintiff’s initial bullying complaint in October, 2012, sufficiently
              alleged gender-based harassment that implicated Title IX.

        2.    Whether Plaintiff was subjected to gender-based harassment that sufficiently
              deprived her of access to the educational opportunities or benefits provided by
              LISD to implicate Title IX.

        3.    Whether LISD had actual knowledge of gender-based harassment of Plaintiff that
              sufficiently deprived her of access to the educational opportunities or benefits
              provided by LISD.

        4.    Whether LISD responded with deliberate indifference to I.F.’s complaints.

        5.    The appropriate legal standard for deliberate indifference.

        6.    Whether an alleged failure to follow Title IX administrative rules, directives,
              letters, or other communications from administrative agencies, or a District’s own
              policies, establishes deliberate indifference.

        7.    Whether Plaintiff has pled any claim for Title IX retaliation that is separate and
              distinct from her claim of Title IX discrimination. If so, whether LISD unlawfully
              retaliated against Plaintiff.

        8.    Whether Plaintiff is entitled to recover any damages, interest, or costs from LISD.

        9.    Whether Plaintiff is entitled to recover any attorney’s fees from LISD.




                                                                                          page 10
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 11 of 33 PageID #: 6708




  G.    LIST OF WITNESSES

        Plaintiff’s List of Witnesses:

        A.      Witnesses who will be called to testify:

             1. Brian Brazil
                Lewisville ISD
                4207 Plano Parkway
                Carrollton, TX 75010
                (469-713-5183

             2. Mark Dalton
                1048 Alexis Drive
                Pottsboro, TX 75076
                (469) 682-9969

             3. Debra Denson-Whitehead
                2609 22nd Street
                Lubbock, TX 79410
                (817) 437-6996

             4. Amanda Werneke
                Lewisville ISD
                4211 Plano Parkway
                Carrollton, Texas 75010
                (469) 713-5996

             5. T. Kevin Rogers
                Lewisville ISD
                1800 Timber Creek Rd.
                Lewisville, TX 75067
                (972) 350-4750

             6. Trisha Sheffield
                Lewisville ISD Board of Trustees
                2213 Landoine Ln.
                Lewisville, TX 75056

             7. Courtney Kennedy
                Lewisville ISD
                4211 Plano Parkway
                Carrollton, TX 75010
                (469) 713-5996




                                                                         page 11
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 12 of 33 PageID #: 6709




           8. Jaime Fletcher
              c/o Aldous \ Walker
              2311 Cedar Springs, Suite 200
              Dallas, TX 75201
              (214) 526-5595

           9. Paul Fletcher
              c/o Aldous \ Walker
              2311 Cedar Springs, Suite 200
              Dallas, TX 75201
              (214) 526-5595


           10. I.F.
               c/o Aldous \ Walker
               2311 Cedar Springs, Suite 200
               Dallas, TX 75201
               (214) 526-5595

           11. S.S.
               4216 Chippewa Ct.
               Carrollton, TX 75010
               (972) 394-4166

           12. Sydney Strifler
               4216 Chippewa Ct.
               Carrollton, TX 75010
               (972) 394-4166

           13. V.R. (a/k/a T.R.)
               1425 Indian Lake Trail
               Carrollton, TX 75007
               (972) 394-4176
               (214) 277-9379

           14. H.G.
               2328 Lady Cornwall Dr.
               Carrollton, TX 75010

           15. A.V.
               3952 Creekside Lane
               Carrollton, TX 75010




                                                                         page 12
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 13 of 33 PageID #: 6710




           16. I.G.
               c/o Law Office of H. Guy Smith PLLC
               900 Jackson Street, Suite 750
               Dallas, TX 75202
               (972) 774-9000

           17. Dr. Edward Dragan
               Education Management Consulting, LLC
               49 Coryell Street
               Lambertville, NJ 08530
               (609) 397-8989

           18. Dr. Roger Pitman
               Professor of Psychiatry
               Harvard Medical School
               Massachusetts General Hospital
               120 Second Avenue
               Charlestown, MA 02129
               (617) 726-5333

           19. Dr. Alexandria Doyle
               5949 Sherry Lane, Suite 840
               Dallas, TX 75225
               214-361-5900

        B. Witnesses who may be called to testify:

           1. Rebecca MacDonald
              7 Indian Wells
              Frisco, TX 75034
              (972) 624-0114

           2. Officer Cole Langston
              Carrollton Police Dept.
              2025 East Jackson Rd.
              Carrollton, TX 75006
              (972) 466-3290

           3. M.H.
              7810 Creek Wood Ct.
              Rowlett, TX 75089




                                                                         page 13
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 14 of 33 PageID #: 6711




           4. Randy Gibbs
              Law Offices of Robert E. Luna, P.C.
              4411 N. Central Expressway
              Dallas, TX 75205
               (214) 521-8000

           5. Detective Dena Williams
              Carrollton Police Dept.
              2025 East Jackson Rd.
              Carrollton, TX 75006
              (972) 466-3290

           6. Shea Alexander
              Dallas Area Rape Crisis Center
              4210 Junius St.
              Dallas, TX 75246
              (972) 641-7273

           7. Scot Finch
              Lewisville ISD
              4207 Plano Parkway
              Carrollton, TX 75010
              (469) 713-5183

           8. James Scott
              Lewisville ISD
              4207 Plano Parkway
              Carrollton, TX 75010
              (469) 713-5183

           9. Christopher Fambro
              804 Oakhollow
              Eastland, TX 76448
              (806) 893-4641

           10. William Farley
               Lewisville ISD
               4207 Plano Parkway
               Carrollton, TX 75010
               (469) 713-5183

           11. Shawn Hurd
               Lewisville ISD
               4207 Plano Parkway
               Carrollton, TX 75010
               (469) 713-5183


                                                                         page 14
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 15 of 33 PageID #: 6712




           12. Eric Mach
               Lewisville ISD
               4207 Plano Parkway
               Carrollton, TX 75010
               (469) 713-5183

           13. Curren McMahon
               Lewisville ISD
               4207 Plano Parkway
               Carrollton, TX 75010
               (469) 713-5183

           14. Robert Vaughn
               Lewisville ISD
               4207 Plano Parkway
               Carrollton, TX 75010
               (469) 713-5183

           15. Officer Randall Zabojnik
               Carrollton Police Dept.
               2025 East Jackson Rd.
               Carrollton, TX 75006
               (972) 466-3290

           16. Officer William Trim
               Carrollton Police Dept.
               2025 East Jackson Rd.
               Carrollton, TX 75006
               (972) 466-3290

           17. Officer Zachary White
               Carrollton Police Dept.
               2025 East Jackson Rd.
               Carrollton, TX 75006
               (972) 466-3290

           18. Victoria Abbott
               Denton County District Attorney’s Office
               1450 E. McKinney St.
               Denton, TX 76209-4524
               (940) 349-2600
               (972) 434-8826




                                                                         page 15
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 16 of 33 PageID #: 6713




           19. Allison Sartin
               Denton County District Attorney’s Office
               1450 E. McKinney St.
               Denton, TX 76209-4524
               (940) 349-2600
               (972) 434-8826

           20. K.A.
               811 King Ban Dr.
               The Colony, TX 75056

           21. S. B.
               4211 Juniper Lane
               Carrollton, TX 75010


           22. J. G.
               1713 E. Branch Hollow Dr.
               Carrollton, TX 75010
               (972) 394-3211
               (214) 538-4155

           23. M.G.
               3952 Creekside Lane
               Carrollton, TX 75010
               (972) 467-2324
               (972) 467-4067

           24. R.G.
               2604 Queen Elaine Dr.
               Lewisville, TX 75056
               (972) 099-0325
               (469) 952-0006

           25. A.H.
               8275 Stonebrook Parkway, Apt. 1112
               Frisco, TX 75034

           26. L.H.
               6621 Shoal Forest Ct.
               Plano, TX 75024
               (469) 384-3321




                                                                         page 16
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 17 of 33 PageID #: 6714




           27. J.J.
               4226 Oak Mount Dr.
               Carrollton, TX 75010
               (214) 490-1908

           28. C.J.
               (address unknown)

           29. D.L.
               4309 Saginaw Ln.
               Carrollton, TX 75010

           30. B.L.
               1825 Amber Lane
               Carrollton, TX 75007
               (972) 492-6123
               (469) 237-6508

           31. C. McK.
               4100 Republic Dr.
               Frisco, TX 75034
               (214) 912-2308

           32. K. R.
               2533 Avalon
               Lewisville, TX 75056
               (972) 342-2464

           33. K. R. 2
               1152 Indian Run Dr., Apt. 1515
               Carrollton, TX 75010

           34. M. S.
               1012 Holy Grail Dr.
               Lewisville, TX 75056
               (214) 577-9629
               (214) 205-7183

           35. F. T.
               1300 Greenview Dr.
               Carrollton, TX 75010
               (214) 923-2155

           36. S. W.
               3708 Maywood Ct.
               Carrollton, TX 75007


                                                                         page 17
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 18 of 33 PageID #: 6715




           37. C. W.
               512 Four Stones
               The Colony, TX 75056

           38. Aimee Roark
               1425 Indian Lake Trail
               Carrollton, TX 75007
               (972) 394-4176

           39. Darren Roark
               1425 Indian Lake Trail
               Carrollton, TX 75007
               (972) 394-4176

           40. Natalie Grainger
               2604 Queen Elaine Dr.
               Lewisville, TX 75056
               (972) 099-0325

           41. Lori Nelson
               Children’s Advocacy Center
               1854 Cain Dr.
               Lewisville, TX 75077
               (972) 317-2818

           42. Jody White
               Dallas Area Rape Crisis Center
               4210 Junius St.
               Dallas, TX 75246
               (972) 641-7273

           43. Stephanie Scott
               1800 Lakeway Dr., Suite 100
               Lewisville, TX 75057
               (972) 317-2470

           44. Regina McFarland, MD
               Park Cities Psychiatry
               5944 Luther Lane, Suite 301
               Dallas, TX 75225
               (214) 522-7240




                                                                         page 18
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 19 of 33 PageID #: 6716




             45. Neil Jacobson, MD
                 Neil Jacobson Psychiatry
                 17440 Dallas Parkway, Suite 208
                 Dallas, TX 75287
                 (972) 248-1717

             46. Howard Smith, MD
                 630 LBJ Freeway, Suite 222
                 Dallas, TX 75240
                 (972) 661-0605

             47. H.G.
                 2328 Lady Cornwall Dr.
                 Carrollton, TX 75010

             48. C.F.
                 c/o Aldous \ Walker
                 2311 Cedar Springs, Suite 200
                 Dallas, TX 75201
                 (214) 526-5595

         C. Witnesses submitted by deposition:

          Plaintiff exchanged video deposition designations with Defendant in accordance with the
  Court’s scheduling order. The following witnesses designated as “Will Call” above may be
  called by deposition in the event they cannot be present in person as the current designations are
  being made more than sixty days in advance of trial:

             1. Brian Brazil
                Lewisville ISD
                4207 Plano Parkway
                Carrollton, TX 75010
                (469-713-5183

             2. Mark Dalton
                1048 Alexis Drive
                Pottsboro, TX 75076
                (469) 682-9969

             3. Debra Denson-Whitehead
                2609 22nd Street
                Lubbock, TX 79410
                (817) 437-6996




                                                                                             page 19
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 20 of 33 PageID #: 6717




             4. S.S.
                4216 Chippewa Ct.
                Carrollton, TX 75010
                (972) 394-4166

             5. Sydney Strifler
                4216 Chippewa Ct.
                Carrollton, TX 75010
                (972) 394-4166

             6. A.V.
                3952 Creekside Lane
                Carrollton, TX 75010

        Defendant’s List of Witnesses:

        A.      Witnesses who will be called to testify:

        1) Debra Denson-Whitehead
           2609 22nd Street
           Lubbock, TX 79410
           (817) 437-6996

        2) Amanda Werneke
           Lewisville ISD
           4211 Plano Parkway
           Carrollton, Texas 75010
           (469) 713-5996

        3) Mark Dalton
           1048 Alexis Drive
           Pottsboro, Texas 75076
           (469) 682-9969

        4) Cole Langston
           Carrollton Police Department
           2025 East Jackson Road
           Carrollton, Texas 75006
           (972) 466-3290




                                                                         page 20
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 21 of 33 PageID #: 6718




        B.    Witnesses who may be called to testify:

        1) I.F.
           2311 Cedar Springs Road, Suite 200
           Dallas, TX 75201
           (214) 526-5595
           (Attorney’s address and phone)

        2) Paul Fletcher
           2311 Cedar Springs Road, Suite 200
           Dallas, TX 75201
           (214) 526-5595
           (Attorney’s address and phone)

        3) Jaime Fletcher
           2311 Cedar Springs Road, Suite 200
           Dallas, TX 75201
           (214) 526-5595
           (Attorney’s address and phone)

        4) Brian Brazil
           Lewisville ISD
           4207 Plano Parkway
           Carrollton, Texas 75010
           (469) 713-5183

        5) Kevin Rogers
           Lewisville ISD
           1800 Timber Creek Road
           Lewisville, TX 75067
           (972) 350-4750

        6) Michael Vargas
           Lewisville ISD
           4207 Plano Parkway
           Carrollton, Texas 75010
           (469) 713-5183

        7) Rebecca MacDonald
           7 Indian Wells
           Frisco, Texas 75034
           (972) 624-0114




                                                                         page 21
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 22 of 33 PageID #: 6719




        8) Alex Alexander
           Lewisville ISD
           136 W Purnell St.
           Lewisville, Texas 75057
           (469) 713-5203

        9) Courtney Kennedy
           Lewisville ISD
           4211 Plano Parkway
           Carrollton, Texas 75010
           (469) 713-5996

        10) Danielle Trepagnier
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183

        11) Scot Finch
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183

        12) Dena Williams
            Carrollton Police Department
            2025 East Jackson Road
            Carrollton, Texas 75006
            (972) 466-3290

        13) Victoria Abbot
            Denton County District Attorney’s Office
            1450 E. McKinney Street, Suite 3100
            Denton, Texas 76209-4524
            (974) 434-8826

        14) Allison Sartin
            Denton County District Attorney’s Office
            1450 E. McKinney Street, Suite 3100
            Denton, Texas 76209-4524
            (974) 434-8826




                                                                         page 22
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 23 of 33 PageID #: 6720




        15) Steven Strifler
            4216 Chippewa Court
            Carrollton, Texas 75010
            (972) 394-4166

        16) S.S.
           4216 Chippewa Court
           Carrollton, Texas 75010
           (972) 394-4166

        17) Sydney Strifler
            4216 Chippewa Court
            Carrollton, Texas 75010
            (972) 394-4166

        18) Trisha Sheffield
            Lewisville ISD Board of Trustees
            2213 Landoine Lane
            Lewisville, Texas 75056

        19) Robert Vaughn
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183

        20) Christopher Fambro
            804 Oakhollow
            Eastland, TX 76448
            (806) 893-4641

        21) William Farley
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183

        22) Shawn Hurd
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183




                                                                         page 23
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 24 of 33 PageID #: 6721




        23) Eric Mach
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183

        24) Curren McMahon
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183

        25) Michael Strange
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183

        26) Tommy Ellington
            Lewisville ISD
            400 W. Main Street
            Lewisville, Texas 75057
            (469) 948-2001

        27) Joanie Leach
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

        28) Laura Doverspike
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

        29) Joel Leader
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

        30) Kelley Ferguson
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

                                                                         page 24
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 25 of 33 PageID #: 6722




        31) Lana Mitchell
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

        32) April Carne
            Lewisville ISD
            1250 W. Round Grove Road
            Lewisville, Texas 75067
            (469) 713-5201

        33) Johnathon Cummings
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

        34) Randi Riordan
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

        35) Ruth Delgada
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

        36) Sylvia Garcia
            Lewisville ISD
            136 W Purnell St.
            Lewisville, Texas 75057
            (469) 713-5203

        37) R. Hines
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

        38) Yanique Isom
            Lewisville ISD
            4211 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5996

                                                                         page 25
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 26 of 33 PageID #: 6723




        39) Nancy Bauer
            1809 Concord Drive
            Flower Mound, Texas 75022
            (214) 616-9181

        40) Allison Peterman
            10130 Summit Run Dr.
            Frisco, TX 75035
            (817) 797-0050

        41) Stacy McDonald
            3381 FM 1446
            Waxahachie, Texas 75167
            (469) 867-0696

        42) Laticia Bell
            256 Meadow Brook Dr.
            Highland Village, Texas 75077
            (972) 317-5868

        43) Parker Liles
            902 Excalibur
            Highland Village, Texas 75077
            (214) 335-7750

        44) Latasha Rayford
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183

        45) Tracey Shinkle
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183

        46) Jason Chagnon
            Lewisville ISD
            4207 Plano Parkway
            Carrollton, Texas 75010
            (469) 713-5183




                                                                         page 26
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 27 of 33 PageID #: 6724




         47) Greg Bradley
             Prosper ISD
             700 N. Coleman
             Prosper, Texas 75078
             (469) 219-2165

         48) Stephanie Wood
             McKinney ISD
             1400 Wilson Creek Parkway
             McKinney, Texas 75069
             (469) 302-3200

         49) Jill Layn
             Lewisville ISD
             2109 Arbor Creek Drive
             Carrollton, Texas 75001
             (469) 713-5971

         50) Janell Varvil
             Lewisville ISD
             2109 Arbor Creek Drive
             Carrollton, Texas 75001
             (469) 713-5971

         51) Cindy Nix
             Lewisville ISD
             2109 Arbor Creek Drive
             Carrollton, Texas 75001
             (469) 713-5971

         52) Dr. Harold Neil Jacobson, M.D
             Neil Jacobson Psychiatry
             17440 Dallas Parkway, Suite 208
             Dallas, Texas 75287
             (972) 248-1717

         D. Witnesses Submitted by Deposition:

          Defendant exchanged video deposition designations with Plaintiff in accordance with the
  Court’s scheduling order. The following witnesses designated may be called by deposition in the
  event they cannot be present in person as the current designations are being made more than
  sixty days in advance of trial:




                                                                                          page 27
Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 28 of 33 PageID #: 6725




        1) Steven Strifler
           4216 Chippewa Court
           Carrollton, Texas 75010
           (972) 394-4166

        2) S.S.
           4216 Chippewa Court
           Carrollton, Texas 75010
           (972) 394-4166

        3) Sydney Strifler
           4216 Chippewa Court
           Carrollton, Texas 75010
           (972) 394-4166

        4) Debra Denson-Whitehead
           2609 22nd Street
           Lubbock, TX 79410
           (817) 437-6996

        5) Mark Dalton
           1048 Alexis Drive
           Pottsboro, Texas 75076
           (469) 682-9969

        6) Deposition on Written Questions of records custodian for Dr. Harold Neil Jacobson,
           M.D.
           17440 Dallas Parkway, Suite 208
           Dallas, Texas 75287
           (972) 248-1717

  H.    LIST OF EXHIBITS

        Plaintiff’s Exhibit List has been submitted.

        Defendant’s Exhibit List has been submitted.

  I.    LIST OF ANY PENDING MOTIONS

        1)     Plaintiff’s Motion for Partial Summary Judgment

        2)     Plaintiff’s Motion to Strike LISD’s Summary Judgment Evidence

        3)     LISD’s Motion for Summary Judgment

        4)     LISD’s Motion to Strike Plaintiff’s Expert Edward Dragan


                                                                                      page 28
     Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 29 of 33 PageID #: 6726




              5)     Any Motions in Limine filed concurrently with this submission.

       J.     PROBABLE LENGTH OF TRIAL

              Probable Length of Trial is 7 days.

       K.     MANAGEMENT CONFERENCE LIMITATIONS

              None, to the parties’ knowledge.

              As this case involves issues of privacy related to witnesses and evidence, the parties

       intend to seek the Court’s guidance on practical considerations in advance of trial. The parties

       believe a conference regarding these matters with the Court will allow them to prepare evidence

       and witnesses in advance and promote efficiency during trial.

L.     CERTIFICATIONS

              The undersigned counsel for each of the parties in this action do hereby certify and

       acknowledge the following:

              (1)    Full and complete disclosure has been made in accordance with the Federal Rules

       of Civil Procedure and the Court’s orders;

              (2)    Discovery limitations set forth in the Federal Rules of Civil Procedure, the Local

       Rules, and the Court’s orders have been complied with;

              (3)    Each exhibit in the List of Exhibits herein:
                      (a)    is in existence;
                      (b)   is numbered; and
                      (c)   has been disclosed and shown to opposing counsel.

                                      This final pretiral order is approved subject to prior rulings made by the court
                                      through prior court orders and prior rulings made on the record at the final
                                      pretrial conference. As stated in previous court orders, only Plaintiff's
                                      retaliation claim will proceed to trial.

                                         So Ordered and Signed
                                         Feb 16, 2017




                                                                                                                  page 29
   Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 30 of 33 PageID #: 6727


                                    UNITED STATES DISTRICT
                                            COURT
            EASTERN
                                                        DISTRICT OF                           TEXAS


                                                                         EXHIBIT AND WITNESS LIST
I.F.                    V.     LEWISVILLE INDEPENDENT
                               SCHOOL DISTRICT
                                                                              Case Number: 4:14-CV-00359(RC/KPJ)

PRESIDING JUDGE                            PLAINTIFF’S ATTORNEY                       DEFENDANT’S ATTORNEY
Ron Clark                                  Charla Aldous                              Thomas P. Brandt
TRIAL DATE (S)                             COURT REPORTER                             COURTROOM DEPUTY
January 30, 2017
PLF.   DEF.     DATE     MARKED ADMITTED                           DESCRIPTION OF EXHIBITS* AND WITNESSES
NO.    NO.    OFFERED
       1                                   E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF1-3)
       2                                   E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF4-5)

       3                                   E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF8)

       4                                   E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF9)
       5                                   E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF10-11)

       6                                   E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF17-24)

       7                                   E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF12-16)

       8                                   E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF6-7)

       9                                   E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF25)

       10                                  E-mail chain between Debra Denson-Whitehead and Brooke Soard (See, DEF26)

       11                                  E-mail chain between Debra Denson-Whitehead and Jaime Fletcher (See, DEF27)

       12                                  E-mail chain between Alex Alexander, Michael Strange, Mark Dalton and Amanda
                                           Werneke (See, DEF103)
       13                                  E-mail chain between Alex Alexander, Michael Strange, Mark Dalton, Amanda
                                           Werneke, and Rebecca MacDonald (See, DEF175-178)
       14                                  E-mail between Mark Dalton and Jaime Fletcher (See, DEF67)
       15                                  E-mail chain between Amanda Werneke, Jaime Fletcher, Mark Dalton and Courtney
                                           Kennedy, (See, DEF245-247)
       16                                  E-mail between Mark Dalton and Rebecca MacDonald (See, DEF139)
       17                                  E-mail chain between Amanda Werneke and Paul Fletcher (See, DEF41-43)

       18                                  E-mail chain between Amanda Werneke and Paul Fletcher (See, DEF44-47)

       19                                  E-mail chain between Amanda Werneke and Paul Fletcher (See, DEF147-48)

       20                                  E-mail chain between Amanda Werneke and Paul Fletcher (See, DEF48-49)
       21                                  E-mail chain between Amanda Werneke, Paul Fletcher, and various LISD staff (See,
                                           DEF50-53)
       22                                  E-mail chain between Debra Denson-Whitehead and Paul Fletcher (See, DEF102)

                                                                                                                      Page 1 of 4
       Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 31 of 33 PageID #: 6728
                                                                                                                      CASE NO. 4:14-CV-00359   (RC/KPJ)
        I.F. vs. LEWISVILLE INDEPENDENT SCHOOL DISTRICT
PLF.     DEF.       DATE
                                  MARKED ADMITTED                                              DESCRIPTION OF EXHIBITS AND WITNESSES
NO.      NO.       OFFERED
         23                                                E-mail chain between Joel Leader, Paul Fletcher, and various LISD personnel
                                                           (See, DEF123-25)
         24                                                E-mail chain between Kelley Ferguson, Paul Fletcher, and various LISD personnel
                                                           (See, DEF126-130)
         25                                                E-mail chain between Amanda Werneke and Paul Fletcher
                                                           (See, DEF59-64)
         26                                                E-mail chain between Amanda Werneke and Paul Fletcher
                                                           (See, DEF82-87)
         27                                                E-mail chain between Amanda Werneke and Nancy Bauer
                                                           (See, DEF365)
         28                                                E-mail chain between Amanda Werneke, Nancy Bauer, and Jonathan Cummings
                                                           (See, DEF328)
         29                                                E-mail chain between Paul Fletcher, Amanda Werneke and other LISD staff
                                                           (See, DEF329-32)
         30                                                E-mail chain between Amanda Werneke and various LISD personnel
                                                           (See, DEF327)
         31                                                E-mail chain between Amanda Werneke and various LISD personnel
                                                           (See, DEF326)
         32                                                E-mail chain between Amanda Werneke and various LISD personnel
                                                           (See, DEF323)
         33                                                E-mail chain between Amanda Werneke and various LISD personnel
                                                           (See, DEF324)
         34                                                E-mail chain between Jonathan Cummings, the Fletchers and other LISD personnel
                                                           (See, DEF312-13)
         35                                                E-mail between Stacy MacDonald, the Fletchers, and other LISD personnel
                                                           (See, DEF316-17)
         36                                                E-mail between Nancy Bauer, the Fletchers, and other LISD personnel
                                                           (See, DEF318-19)
         37                                                E-mail between Laticia Bell, the Fletchers, and other LISD personnel
                                                           (See, DEF320-21)
         38                                                E-mail chain between Paul Fletcher, Amanda Werneke, Michael Strange, and other
                                                           LISD personnel (See, DEF374-85)
         39                                                E-mail chain between Paul Fletcher, Amanda Werneke, Alex Alexander, Rebecca
                                                           MacDonald, and Mark Dalton (See, DEF70-72)
         40                                                E-mail chain between Paul Fletcher, Amanda Werneke and other LISD personnel (See,
                                                           DEF403-06)
         41                                                E-mail chain between Paul Fletcher, April Carne, and other LISD personnel (See,
                                                           DEF393-94)
         42                                                E-mail chain between Paul Fletcher and Amanda Werneke
                                                           (See, Exhibit 10 to Paul Fletcher deposition)
         43                                                E-mail chain between Paul Fletcher and Amanda Werneke
                                                           (See, Exhibit 11 to Paul Fletcher deposition)
         44                                                E-mail chain between Paul Fletcher and Amanda Werneke
                                                           (See, Exhibit 12 to Paul Fletcher deposition)
         45                                                I.F.’s Admission, Review, and Discipline (“ARD”) records
                                                           (See, DEF1107-92)
         46                                                E-mail chain between Rebecca MacDonald and Kevin Rogers
                                                           (See, DEF2767-68)
         47                                                List of alleged cyberbullies with notes
                                                           (See, DEF1423)
         48                                                Offensive social media posting regarding I.F.
                                                           (See, DEF1433)
         49                                                E-mail between Amanda Werneke and Jaime Fletcher
                                                           (See, DEF1422)
* Include a notation as to the location of any exhibit not held with the case file or not available because of size




                                                                                                                                                          Page 2 of 4
       Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 32 of 33 PageID #: 6729


                                                                                         CASE NO. 4:14-CV-00359   (RC/KPJ)
        I.F. vs. LEWISVILLE INDEPENDENT SCHOOL DISTRICT
PLF.    DEF.    DATE
                         MARKED ADMITTED                            DESCRIPTION OF EXHIBITS AND WITNESSES
NO.     NO.    OFFERED
        50                                 Summary of I.G. interview (See, DEF1385)

        51                                 Summary of second I.G. interview (See, DEF1530)

        52                                 Summary of A.V. interview (See, DEF1387)

        53                                 Summary of second A.V. interview (See, DEF1531)

        54                                 Summary of S.S. interview (See, DEF1386)

        55                                 Summary of second S.S. interview (See, DEF1532)

        56                                 Summary of V.R. interview (See, DEF1390)

        57                                 Summary of second V.R. interview (See, DEF1533)

        58                                 Summary of Sydsey Strifler interview (See, DEF1388)

        59                                 Summary of K.R. interview (See, DEF1389)

        60                                 Summary of S.W. interview (See, DEF1391)

        61                                 Summary of X.T. interview (See, DEF1392

        62                                 Summary of D.L. interview (See, DEF1393)

        63                                 Summary of W.S. interview (See, DEF1394)

        64                                 Summary of M.G. interview (See, DEF1395)

        65                                 Summary of L.H. interview (See, DEF1396

        66                                 Summary of C.M. interview (See, DEF1400)

        67                                 Summary of H.G. interview (See, DEF1401)

        68                                 HHS 9 Student Incident Report of S.S. (See, DEF1406)

        69                                 HHS 9 Student Incident Report of W.S. (See, DEF1407)

        70                                 HHS 9 Student Incident Report of M.G. (See, DEF1408)

        71                                 HHS 9 Student Incident Report of L.H. (See, DEF1409)

        72                                 HHS 9 Student Incident Report of D.L. (See, DEF1410)

        73                                 HHS 9 Student Incident Report of X.T. (See, DEF1411)

        74                                 Student Incident Report of S.W. (See, DEF1412)

        75                                 HHS 9 Student Incident Report of Sydney Strifler (See, DEF1415-16)

        76                                 Written Statement of I.F. (See, DEF1417-21)




                                                                                                                             Page 3 of 4
       Case 4:14-cv-00359-RC-KPJ Document 319 Filed 02/16/17 Page 33 of 33 PageID #: 6730
                                                                                        CASE NO. 4:14-CV-00359   (RC/KPJ)
        I.F. vs. LEWISVILLE INDEPENDENT SCHOOL DISTRICT
PLF.    DEF.    DATE
                         MARKED ADMITTED                             DESCRIPTION OF EXHIBITS AND WITNESSES
NO.     NO.    OFFERED
        77                                 Summary of Interview of I.F. (See, DEF1399)

        78                                 PowerPoint Presentation of I.F. to LISD (See, “Fletcher000266-302”)

        79                                 Hebron 9th Grade Center Summary of Findings Regarding Investigation of 9/28/12,
                                           party (See, DEF1383-84)
        80                                 Summary of alleged bullying investigation (See, DEF1403)

        81                                 Additional summary of alleged bullying investigation (See, DEF1405)

        82                                 LISD Alleged Bullying, Harassment, or Intimidation Incident School Investigation Form
                                           (See, DEF1402)
        83                                 LISD Bullying, Harassment, or Intimidation Incident School Investigation Form
                                           (See, DEF1404)
        84                                 Letter from Daniel Gibbs to Robert Wolf (See, DEF2882-83)

        85                                 Doctor’s note from Dr. Regina McFarland/Park Cities Psychiatry
                                           (See, DEF2800)
        86                                 Medical records from Dr. Harold Neil Jacobson, by deposition on written questions (See,
                                           DEF2947-71)
        87                                 I.F.’s LISD middle school report card (See, DEF1753)

        88                                 I.F.’s LISD high school report card (See, DEF1754)

        89                                 LISD Policy FB (Local) (See, DEF2875-76)

        90                                 LISD Policy FB (Legal) (See, DEF2868-74)

        91                                 LISD Policy FFH (Local) (See, DEF1897-1903

        92                                 LISD Policy FFH (Legal) (See, DEF2739)

        93                                 LISD Policy FFI (Local) (See, DEF1904-06 and 2879-81)

        94                                 LISD Policy FFI (Legal) (See, DEF2877-78)

        95                                 LISD Policy FNG (Local) (See, DEF1909-14)

        96                                 Cyberbullying documents in Plaintiff’s possession (See Exhibit 9 to Jaime Fletcher
                                           deposition)




                                                                                                                            Page 4 of 4
